      Dated: 8/17/2020




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                        )
                                              )       Case No. 3:19-bk-05006
BHARAT K PATEL                                )       Chapter 11
                                              )       Judge Walker
                                              )
                                              )
                                              )
       Debtor.                                )

ORDER AND NOTICE OF HEARING ON FIRST AMENDED DISCLOSURE STATEMENT

       To the Debtor, his creditors, and other parties-in-interest:
       A First Amended Disclosure Statement and First Amended Chapter 11 Plan having been filed
under Chapter 11 of the Bankruptcy Code by the Debtor on or about August 14, 2020, it is
ORDERED and NOTICE is hereby given that:


       1)      The hearing to consider approval of the First Amended Disclosure Statement shall be
held at Hearing  will be held telephonically.
        ____________________________________________________________________                 on
        The29,
September   call-in
               2020information isatas_______
                                       follows: Call-In Number is 888-363-4749; Access Code is 7250422#.
__________________________,           10:00 a.m.


       2)     September 18, 2020
               __________________ is fixed as the last day for filing and serving in accordance
with Rule 3017(a) of the Federal Rules of Bankruptcy Procedure written Objections to the First
Amended Disclosure Statement.


       3)              3
               Within ______ days after the entry of this Order, the Debtors shall transmit the First
Amended Disclosure Statement and First Amended Chapter 11 Plan to the Debtor, Trustee, United
States Trustee, each committee appointed pursuant to Section 1102 of the Bankruptcy Code, and any
creditor and party-in-interest who has requested or requests in writing a copy of the First Amended
Disclosure Statement and First Amended Chapter 11 Plan.



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       4)      Request for copies of the First Amended Disclosure Statement and First Amended
Chapter 11 Plan shall be mailed to the Debtor, c/o Steven L. Lefkovitz, 618 Church Street, Suite 410,
Nashville, Tennessee 37219.

            THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY
                  AS INDICATED AT THE TOP OF THE FIRST PAGE.

APPROVED FOR ENTRY:

LEFKOVITZ & LEFKOVITZ

/S/ STEVEN L. LEFKOVITZ
Steven L. Lefkovitz, No. 5953
Attorney for Debtors
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Nashville, Tennessee 37219
Phone: (615) 256-8300 Fax: (615) 255-4516
Email: slefkovitz@lefkovitz.com




                                                                       This Order has been electronically
                                                                       signed. The Judge's signature and
                                                                       Court's seal appear at the top of the
                                                                       first page.
                                                                       United States Bankruptcy Court.

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